Case 4:23-cr-00159-MWB Document 31 Filed 06/27/23 Page 1 of 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) — CRIMINAL NO. 4:23-CR-00159-1
)
)  (BRANN, C.J.)
V. )
) (ARBUCKLE, M.J.)
CEDRIC LODGE, )
Defendant )
PLEA

 

AND NOW, this 27" day of June 2023, the within named Defendant, hereby

 

enters a plea of Lok Bru itty to the within Indictment,

 

 

ae S “Saau)

ae,

(Defense C ‘ounsel~

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